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                                     UNITED STATES DISTRICT COURT
                                      MIDDLE DISTRICT OF FLORIDA
                                          ORLANDO DIVISION



UNITED STATES OF AMERICA,

           Plaintiff,
v.                                                                         CASE NO.: 6:20-cr-00097-GAP-LRH

JOEL MICAH GREENBERG,

      Defendant.
__________________________________/

                    DEFENDANT’S AMENDED UNOPPOSED MOTION TO
                CONTINUE SENTENCING FOR A PERIOD OF NINETY (90) DAYS

           The Defendant, Joel Micah Greenberg, moves this Honorable Court to continue his

sentencing hearing for a period of ninety (90) days.1 In support thereof, Mr. Greenberg states the

following:

                                            STATEMENT OF FACTS

           Procedural History

           1.       On May 17, 2021, Mr. Greenberg pled guilty to sex trafficking, identity theft, wire

fraud, and conspiracy. See Doc. 105-106.

           2.       Based on his convictions for identity theft and sex trafficking, Mr. Greenberg is

facing a significant minimum mandatory penalty of 12 years. See 18 U.S.C § 1591 (imposing

mandatory penalty of ten years) and 18 U.S.C. § 1028A (imposing consecutive mandatory penalty of

two years).

           3.       Mr. Greenberg’s sentencing hearing is currently set for August 19, 2021. Doc. 116.

           Grounds Supporting the Request for a Continuance


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    This motion has been amended to designate that it is not being filed under seal.

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       4.       There are three independent grounds supporting Mr. Greenberg’s request for a

continuance.

       5.       Pursuant to his plea agreement with the Government, Mr. Greenberg has been

cooperating with the Government and has participated in a series of proffers. Said cooperation,

which could impact his ultimate sentence, cannot be completed prior to the time of his sentencing.

The parties expect that Mr. Greenberg will participate in additional proffers, and a continuance

would provide Mr. Greenberg with additional time to do so prior to his sentencing.

       6.       Moreover, Mr. Greenberg’s sentence will include the imposition of a restitution

obligation. In this regard, the parties have been diligently working together, as well as with multiple

parties, to resolve the calculation of the Defendant’s restitution obligation prior to his sentencing.

Nevertheless, because the restitution issue involves multiple parties and disputed amounts, the matter

cannot be resolved prior to Mr. Greenberg’s current sentencing date.

       7.       Finally, the parties are in the process of resolving Mr. Greenberg’s applicable and

advisory sentencing guideline range which has been complicated by both the diversity and nature of

his charges.

           8.   Accordingly, Mr. Greenberg submits that a continuance of the sentencing hearing will

allow the parties sufficient time to resolve the foregoing matters prior to Mr. Greenberg’s sentencing

hearing.

       9.       The Government does not oppose the request for a continuance.

                                   MEMORANDUM OF LAW

       Mr. Greenberg’s request for a continuance is predicated on Rule 32 of the Federal Rules of

Criminal Procedure and the Sixth Amendment to the United States Constitution. This memorandum

discusses each basis in turn.



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       Rule 32(e) of the Federal Rules of Criminal Procedure provides the time limits for imposing

a defendant’s sentence. This rule notes that these time limits may be lengthened for good cause

shown. In the instant case, good cause supports the requested continuance. Indeed, Mr. Greenberg’s

ongoing cooperation, which will not be completed prior to his current sentencing date, could have an

impact on his final sentence. Moreover, the requested continuance will give the parties sufficient

time to potentially resolve any disputes concerning Mr. Greenberg’s restitution obligation and

advisory guideline range.

       Concerning the Sixth Amendment, this constitutional provision guarantees Mr. Greenberg’s

right to the effective assistance of counsel at sentencing. See Glover v. United States, 531 U.S. 198,

203-04 (2001). The undersigned respectfully submits a continuance is necessary in order to vindicate

Mr. Greenberg’s right to the effective assistance of counsel.

       WHEREFORE, the Defendant Joel Micah Greenberg respectfully moves this Honorable

Court for an Order continuing the Sentencing Hearing for a period of ninety (90) days.

       Respectfully submitted this 6th day of July 2021.

                                                      /s/ Fritz Scheller
                                                      Fritz Scheller
                                                      Florida Bar No. 0183113




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                                 CERTIFICATE OF SERVICE

       On July 6, 2021, I filed the foregoing with the clerk of the court using the ECF system which

will provide a copy to all parties of record.


                                                     /s/ Fritz Scheller
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